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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CASE NO. 21-cr-00053 (CJN)
               v.                              :
                                               :
EDWARD JACOB LANG,                             :
                                               :
                         Defendant.            :

                                              ORDER

       This matter is before the Court on the unopposed motion of the United States to amend

this Court’s prior revised scheduling order. See ECF 111. After consideration of the government’s

motion and earlier representations from the defense, it is hereby

       ORDERED that the government’s motion is GRANTED, and this Court’s scheduling

order is amended as follows:

       By August 25, 2023, the parties shall file with the Court:

   a) A neutral statement of the case: The Parties shall include a neutral statement of the case for

       the Court to read to prospective jurors.

   b) Proposed voir dire questions: The Parties shall indicate –

               i. the voir dire questions that the Parties agree to; and

               ii. the voir dire questions that the Parties disagree on, with specific

                    objections noted as to each disputed question.

   c) Proposed jury instructions: The Parties shall submit a list of proposed jury instructions,

       followed by the text of each proposed instruction, that indicates:

               i. the instructions that the Parties agree to; and

               ii. the instructions that the Parties disagree on, with specific objections noted below
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              each disputed instruction, and the proposed instruction’s source including

              supporting legal authority.

   Proposed instructions may be updated as needed to reflect the evidence presented at trial.

   Absent a showing of good cause, no other modifications will be permitted.

d) Proposed verdict form: The Parties shall include a draft verdict form, including any

   proposed special interrogatories. The draft verdict form should include a date and signature

   line for the jury foreperson.

   By September 18, 2023, the parties shall file with the Court:

a) List of witnesses: The Parties shall identify the witnesses that each side anticipates it may

   call in its case-in-chief, including any expert witnesses, divided into the following

   categories:

           i. witnesses who will be called to testify at trial;

           ii. witnesses who may be called to testify at trial; and

           iii. witnesses whose testimony a party will present by deposition or other prior

              testimony, indicating whether the presentation will be by transcript or video.

   The Court will read the list of witnesses to the jury during voir dire. In the list, each witness

   name should be accompanied by a brief description of each witness’s expected testimony

   and area of expertise, if applicable, followed by specific objections, if any, to each witness.

b) Exhibit lists: The Parties shall include a list of trial exhibits (including demonstratives,

   summaries, or other specially prepared exhibits), which includes:

           i. the exhibit number for each exhibit;

           ii. the date of the exhibit;

           iii. a brief description of the exhibit;


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           iv. a concise statement of the asserted basis of admissibility; and

           v. whether there is an objection to admission of the exhibit, and if so,

              a concise statement of the basis for the objection.

   This list, together with numbered pre-marked copies of the exhibits, should be submitted

   to the Court in a separate binder.

c) Stipulations: The Parties shall submit a draft of all stipulations.



   DATE: ________________________                         _________________________
                                                          CARL J. NICHOLS
                                                          United States District Judge




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